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No. 19-10754 |
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IN THE [oo
UNITED STATES COURT OF APPEALS CLERK, US. DIST RICT ( COURT
FOR THE FIFTH CIRCUIT By . Te

 

RICHARD W. DEOTTE, on behalf of themselves and others similarly situated;
YVETTE DEOTTE, on behalf of themselves and others similarly situated; JOHN
KELLEY, on behalf of themselves and others similarly situated; ALISON
KELLEY, on behalf of themselves and others similarly situated; HOTZE
HEALTH & WELLNESS CENTER, on behalf of themselves and others similarly
situated; BRAIDWOOD MANAGEMENT, INCORPORATED,

Plaintiffs - Appellees
V.
STATE OF NEVADA,

Appellant.

 

On Appeal from
United States District Court for the Northern District of Texas
4:18-CV-825-O

 

AMENDED NOTICE OF APPEAL
APPELLANT State of Nevada

 

AARON D. FORD
Attorney General

/s/ Heidi Parry Stern
HEIDI PARRY STERN
Solicitor General

555 E. Washington Avenue
Las Vegas, NV 89101-0000
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PLEASE TAKE NOTICE that Proposed Intervenor State of Nevada hereby
appeals to the United States Court of Appeals for the Fifth Circuit from this
Court’s July 29, 2019 Judgment, ECF No. 98; the Court’s March 30, 2019 Order,
ECF No. 33, granting Plaintiffs’ motion for class certification; the Court’s April 1,
2019 Order, ECF No. 37, amending class certification; the Court’s June 6, 2019
Order, ECF No. 76, granting Plaintiffs’ motions for summary judgment and for
permanent injunction; and this Court’s July 29, 2019 Order, ECF No. 97, denying
State of Nevada’s motion to intervene. Nevada previously filed a notice of
protective appeal on July 3, 2019 to preserve its right to appeal pending resolution
of the then-pending motion for intervention and the issuance of final judgment.

RESPECTFULLY SUBMITTED this 27th day of August, 2019.

AARON D. FORD
Attorney General

By:_/s/ Heidi Parry Stern
HEIDI PARRY STERN
(NV Bar 8873) (pro hac vice pending)
Solicitor General
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CERTIFICATE OF SERVICE
I hereby certify that I electronically filed the foregoing with the clerk of
court for the United States District Court for the Northern District of Texas, by
using the CM/ECF system on the 27th day of August, 2019.
I further certify that that I have served counsel of record for all parties

through this Court’s CM/ECF system.

 

Appellees:

Counsel for Appellees:

 

Braidwood Management,
Incorporated

Hartson Fillmore of Fillmore Law Firm,
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Charles Fillmore of Fillmore Law Firm,
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By: /s/ Sandra Geyer
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CERTIFICATE OF COMPLIANCE

1. This document complies with the FED. R. App. P. 32(a)(7)(B) because, it is
double spaced excluding the parts of the document exempted by FED. R. APP. P.
32(f) and this document contains 649 words.

2. This document complies with the typeface requirements of FED. R. App. P.
32(a)(5) and the type-style requirements of FED. R. App. P. 32(a)(6) because:

this document has been prepared in a proportionally spaced typeface using
Microsoft Office, Word 2016 in Times New Roman pt 14.

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United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

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CLERK

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August 29, 2019

Ms. Karen S. Mitchell

Northern District of Texas, Fort Worth
United States District Court

501 W. 10th Street

Room 310

Fort Worth, TX 76102

Richard DeOtte, et al v. Alex Azar
USDC No. 4:18-CV-825- 2

Dear Ms. Mitchell,

I am forwarding an amended notice of appeal erroneously sent to us.
We have noted the date received here (August 27, 2019). When you

file the amended notice of appeal, please use that date, see
FED. R. APP. P. 4(d).

Sincerely,

LYLE W. CAYCE, Clerk

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cht
5 d
By:

Mary Frances Yeager, Deputy Clerk
504-310-7686

 

cc: Mrs. Heidi Parry Stern
